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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY BOBULINSKI and                   Civil Action No. 1:24-cv-02349 (JPO)
STEFAN PASSANTINO,

                  Plaintiffs,            MEMORANDUM IN SUPPORT OF
                                         DEFENDANT JESSICA TARLOV’S
           v.                            MOTION TO DISMISS FOR FAILURE
                                         TO STATE A CLAIM
JESSICA TARLOV,

                  Defendant.




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                                        INTRODUCTION

       This defamation action is frivolous. Tony Bobulinski and his lawyer, Stefan Passantino,

have sued Jessica Tarlov (a host on the Fox News show The Five) for stating that Bobulinski’s

attorneys’ fees were paid by a Trump Super PAC—even though Tarlov corrected that statement

within hours of receiving a denial from Bobulinski. Plaintiffs fail to state a claim for defamation

because they fail to allege any facts plausibly suggesting that Tarlov acted with actual malice and

also fail to allege either defamation per se or special damages.

       Tony Bobulinski has been a recurring fixture in the news ever since he took the spotlight

in October 2020 at a press conference where he accused Joe Biden of influence peddling. Most

recently, he testified before Congress as part of the impeachment inquiry against President Biden.

During his testimony, documents were placed in the record showing that the law firm representing

Bobulinski had been paid $10,000 as recently as January 2024 by the Save America PAC.

       On The Five that afternoon, Tarlov stated that “Tony Bobulinski’s lawyers’ fees have been

paid by a Trump Super PAC.” Compl. ¶ 29. The next day, Plaintiffs demanded a retraction,

insisting that the fees were not paid by the PAC. Within hours, Tarlov corrected her statement on

air, explaining: “What was actually said at the hearing was that a law firm representing Mr.

Bobulinski was paid by a Trump PAC. I have seen no indication that those payments were made

in connection to Mr. Bobulinski’s legal fees, and he denies that they were.” Id. ¶ 32.

       But that was not good enough for Plaintiffs. They demanded that: (i) Tarlov must

apologize on the air, (ii) using specific language dictated by them, with (iii) a hand-selected picture

of Bobulinski airing in the background. When Fox News and Tarlov declined to accede to those

demands, Plaintiffs sued Tarlov (but not Fox News) for defamation. Their claims are frivolous.

       First, because both Plaintiffs are limited purpose public figures, and because Tarlov’s

comment involved a matter of public interest, Plaintiffs must allege actual malice. See Gertz v.


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Robert Welch, Inc., 418 U.S. 323, 351 (1974); N.Y. Civ. Rts. L. § 76-a(1) & (2). But the Complaint

fails to allege any facts whatsoever to raise a plausible inference that Tarlov subjectively knew that

her statement was false or that she had “a high degree of awareness of . . . probable falsity.” St.

Amant v. Thompson, 390 U.S. 727, 731 (1968). Instead, her immediate retraction shows that, as

soon as she had any reason to doubt what she had said, she corrected her statement.

       Second, Plaintiffs fail to allege either defamation per se or special damages, and one or the

other is required to state a claim for defamation. They fail to allege that Tarlov’s statement

qualifies as defamatory per se as a statement charging conduct “incompatible” with the standards

of either Plaintiff’s trade or profession. Liberman v. Gelstein, 605 N.E.2d 344, 348 (N.Y. 1992).

Bobulinski does not even allege what his profession is, and in any event, a comment about who

paid his attorneys’ fees as a congressional witness has nothing to do with his conduct in his

business and thus cannot qualify as per se defamatory. As for Passantino, a statement that his fees

were paid by a PAC does not suggest anything unethical or incompatible with professional

standards for attorneys. Nor can Plaintiffs salvage their Complaint by twisting Tarlov’s statement

into an accusation that Bobulinski lied to Congress. Tarlov simply did not say that.

       Plaintiffs also fail to allege special damages. Without itemizing any specific losses, they

demand a round sum of $10 million on each count for vague injuries to “reputation” and “business

ventures.” That is a classic failure to allege special damages that is fatal to a claim for defamation.

See, e.g., Thai v. Cayre Grp., Ltd., 726 F. Supp. 2d 323, 336 & n.110 (S.D.N.Y. 2010).

       Plaintiffs’ claim for defamation by implication also fails because it rests on a plain

distortion. It requires believing that, when Tarlov said that she had “seen no indication that those

[PAC] payments were made in connection to Mr. Bobulinski’s legal fees,” she was deliberately

implying that the PAC did pay Bobulinski’s fees. Plaintiffs cannot distort her words like that.




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         “In defamation cases, Rule 12(b)(6) . . . provides assurance to those exercising their First

Amendment rights that doing so will not needlessly become prohibitively expensive.” Biro v.

Condé Nast, 963 F. Supp. 2d 255, 279 (S.D.N.Y. 2013). The Court should protect Tarlov’s First

Amendment right to discuss matters of public importance by dismissing these meritless claims.

                                          STATEMENT OF FACTS

         A.       Bobulinski Takes On a Public Role with Claims of Biden Influence Peddling1

         On October 22, 2020, immediately before the second presidential debate, Tony Bobulinski

appeared at a press conference to accuse Joe Biden of influence-peddling and profiting from his

son’s foreign business dealings.2 Bobulinski and his lawyer, Stefan Passantino, then attended the

debate as guests of President Trump.3 Bobulinski alleges that he voluntarily “came forward

because of the lies Joseph Biden was telling about his involvement with his son’s business

dealings.” Compl. ¶ 17. Not surprisingly, his accusations created a media firestorm. His press

conference was widely covered.4 He has remained in the public spotlight throughout the Biden

administration,5 and the press regularly covers his statements.6

         B.       Bobulinski Voluntarily Testifies in a Presidential Impeachment Inquiry

         Recently, Bobulinski has been a key witness in the impeachment investigation into

President Biden. On February 13, 2024, he voluntarily sat for an interview with the House



    1
       The Court may take notice of published materials to assess limited public figure status. See Prince v. Intercept,
634 F. Supp. 3d 114, 135 n.23 (S.D.N.Y. 2022); Biro v. Condé Nast, 963 F. Supp. 2d 255, 271 n.9 (S.D.N.Y. 2013).
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       See, e.g., Glenn Kessler, Dissecting GOP claims about Hunter Biden deals allegedly involving his father, Wash.
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       See, e.g., James Lynch, ‘Shocked and Disgusted’: Tony Bobulinski’s Lawyer Escalates Feud with Jamie Raskin
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https://perma.cc/P5TQ-TS46.



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Oversight and Accountability Committee. See Decl. of Brett Katz, Ex.A.7                            Passantino, as

Bobulinski’s lawyer, has issued several public statements related to his testimony, including a

series of public, back-and-forth letters with Representative Jamie Raskin,8 at least one of which

Passantino sent directly to ABC News to ensure publicity.9 See Katz Decl. Exs. C, D.

        On March 20, 2024, Bobulinski testified in a public hearing, see Compl. ¶ 20, during which

Representative Crockett put in the record a Federal Election Commission (FEC) filing showing

that Elections LLC—the firm representing Bobulinski—had been paid $10,000 in January 2024

by Save America PAC, which she described as “Donald Trump’s PAC.” Id. ¶ 58; see also Katz

Decl., Ex.B (FEC filing). Elections LLC is Passantino’s law firm, Compl. ¶ 22, and Plaintiffs

admit the “true fact that the [Save America] PAC has paid Stefan Passantino’s firm,” id. ¶ 59.

        Later that day, a journalist tweeted a video of Rep. Crockett captioned: “Crockett

introduces evidence showing that Bobulinski has gotten paid by Donald Trump’s PAC.”10

        C.       Defendant Tarlov’s Statement and This Lawsuit

        Jessica Tarlov is a host on The Five. On the afternoon of March 20, 2024, shortly after the

events described above, Plaintiffs allege that Tarlov stated on The Five that “Tony Bobulinski’s

lawyers’ fees have been paid by a Trump Super PAC. That’s as recent as January.” Compl. ¶ 29.

        The next day, claiming that none of Bobulinski’s fees had been paid by a Trump PAC,

Plaintiffs demanded a retraction. Id. Ex. A. On The Five that afternoon, Tarlov made a correction:

        I would like to clarify a comment I made yesterday during our discussion of Tony
        Bobulinski’s appearance at the congressional hearing. During an exchange with
        my colleagues about the hearing, I said that Mr. Bobulinski’s lawyers’ fees have
        been paid for by a Trump Super PAC as recently as January. What was actually

     7
       See also, e.g., Will Steakin, Biden critic who once worked with Hunter tells lawmakers Joe Biden was ‘enabler’
of son’s overseas business, ABC News (Feb. 13, 2024), https://perma.cc/3AY4-AA23.
     8
       See supra note 6; see also Will Steakin, Raskin blasts GOP’s top Biden impeachment witness Tony Bobulinski
over interview with Oversight panel, ABC News (Feb. 20, 2024), https://perma.cc/CA6P-KAXY.
     9
       See also Lynch supra note 6.
     10
        Aaron Rupar @atrupar, X (Mar. 20, 2024 3:07 PM), https://bit.ly/44AYGd1.



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       said at the hearing was that the law firm representing Mr. Bobulinski was paid by
       a Trump PAC. I have seen no indication that those payments were made in
       connection to Mr. Bobulinski’s legal fees and he denies that they were.

Id. ¶ 32 (emphasis added).

       But that was not good enough for Plaintiffs. On March 22 they sent another letter, this

time demanding: (i) that Tarlov formally apologize on air that day; (ii) that a photograph of

Bobulinski chosen by them “is to be aired during Ms. Tarlov’s apology”; and (iii) that Tarlov must

use specific language, chosen by them, stating that she “apologizes to Tony Bobulinski and Stefan

Passantino for making a false claim on the air which harmed their reputations.” Id. Ex. B at 2.

Fox News and Ms. Tarlov did not accede to these demands.

       On March 28, 2024, Plaintiffs sued Tarlov (but not Fox) alleging defamation, defamation

by implication, and injurious falsehood. They do not identify any specific losses of economic

value but seek damages of $10 million on each count of their Complaint. See id. ¶¶ 54, 64, 69.

                                       LEGAL STANDARD

       To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quotation omitted). It is well settled that, “[b]ecause a defamation suit ‘may be

as chilling to the exercise of First Amendment freedoms as fear of the outcome of the lawsuit

itself,’ courts should, where possible, resolve defamation actions at the pleading stage.” Adelson

v. Harris, 973 F. Supp. 2d 467, 481 (S.D.N.Y. 2013). Also, under New York’s anti-SLAPP law,

an action (like this) “based upon . . . the exercise of the constitutional right of free speech in

connection with an issue of public interest,” N.Y. Civ. Rts L. § 76-a(2), is subject to dismissal

unless the complaint establishes a “substantial basis” for the action, N.Y. C.P.L.R. § 3211(g)(1).

But see, e.g., Chinese Americans C.R. Coal., Inc. v. Trump, No. 21-CV-4548 (JGK), 2022 WL

1443387, at *4 n.4 (S.D.N.Y. May 6, 2022) (declining to apply “substantial basis” standard in


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federal court).11

                                                 ARGUMENT

I.        Plaintiffs Fail to State a Claim for Defamation.

          Plaintiffs fail to adequately plead multiple elements required to state a claim for defamation

under New York law.12 A claim for defamation requires a plaintiff to allege: “(i) a defamatory

statement of fact, (ii) that is false, (iii) published to a third party, (iv) ‘of and concerning’ the

plaintiff, (v) made with the applicable level of fault on the part of the speaker, (vi) either causing

special harm or constituting [defamation] per se, and (vii) not protected by privilege.” Albert v.

Loksen, 239 F.3d 256, 265-66 (2d Cir. 2001). As explained below, the level of fault required is

actual malice where, as here, the statement at issue concerns a matter of public interest, see N.Y.

Civ. Rts. L. § 76-a, or where the plaintiff is a public figure or limited-purpose public figure. See

Gertz, 418 U.S. at 351; New York Times Co. v. Sullivan, 376 U.S. 254, 279 (1964). Additionally,

although defamation plaintiffs ordinarily must plead special damages, that requirement does not

apply if the plaintiff adequately pleads a statement within one of the “four established exceptions”

that constitute defamation per se—namely, “statements (i) charging plaintiff with a serious crime,

(ii) that tend to injure another in his or her trade, business, or profession; (iii) that plaintiff has a

loathsome disease; or (iv) imputing unchastity to a woman.” Liberman, 605 N.E.2d at 347.

          Here, the defamation claims fail because Plaintiffs fail to adequately plead actual malice

and also fail to plead either defamation per se or special damages.

          A.     Plaintiffs Fail to Sufficiently Plead Facts Showing Actual Malice.

          The “famously daunting” standard of actual malice, Tah v. Glob. Witness Publ’g, Inc., 991




     11
       But cf. also La Liberte v. Reid, 966 F.3d 79, 87-88 (2d Cir. 2020) (California anti-SLAPP standard for
dismissing case does not apply in federal court).
    12
       Plaintiffs agree New York law applies. See, e.g., Kinsey v. N.Y. Times Co., 991 F.3d 171, 176 (2d Cir. 2021).



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F.3d 231, 240 (D.C. Cir. 2021), is a bulwark protecting free speech. It requires facts showing that

Tarlov subjectively knew her statements were false or had serious doubts about their truth. St.

Amant v. Thompson, 390 U.S. 727, 731 (1968). Plaintiffs do not come close to that standard.

                  1.       Plaintiffs Must Allege Actual Malice Because Commentary on
                           Bobulinski’s Testimony Concerns a Matter of Public Interest.

         Under New York law, because Tarlov’s statement involved an “issue of public interest,”

Plaintiffs must adequately allege that Tarlov made the statement with “knowledge of its falsity or

with reckless disregard of whether it was false.” N.Y. Civ. Rts. L. § 76-a(1)(a) & (2). That is, she

must satisfy the “actual malice” standard of Sullivan. See, e.g., Atas v. New York Times Co., No.

22-CV-853 (JPO), 2023 WL 5715617, at *4-5 (S.D.N.Y. Sept. 5, 2023) (section 76-a imposes

“actual malice” standard). New York law specifies that “‘[p]ublic interest’ shall be construed

broadly, and shall mean any subject other than a purely private matter.” N.Y. Civ. Rts. L. § 76-

a(1)(d); see also Coleman v. Grand, 523 F. Supp. 3d 244, 259 (E.D.N.Y. 2021). There can be no

dispute that Bobulinski’s testimony—testimony in an impeachment inquiry alleging influence-

peddling using the President’s name while President Biden took a cut of the profits, see Compl.

¶¶ 12-19—involves a matter of public interest. “[P]ublic discussion of the stewardship of public

officials” lies at the heart of the First Amendment. Sullivan, 376 U.S. at 275. Commentary about

his testimony and possible grounds for questioning his candor plainly concerns a matter of public

interest—which is also confirmed by the extensive media coverage of his testimony.13

                  2.       Plaintiffs Are Also Limited Purpose Public Figures.

         Plaintiffs also must plead actual malice because they are both limited purpose public

figures. Limited public figure status is a question of law for the Court, see Biro v. Condé Nast,


    13
       See, e.g., Tony Bobulinski: Joe Biden Was ‘the Brand,’ Wall St. J. (Mar. 19, 2024), https://on.wsj.com/44yq8I5;
Josh Christenson, He said, he said: Where ex-Hunter Biden biz partner Tony Bobulinski says first brother James Biden
‘lied extensively’ to Congress, N.Y. Post (Mar. 20, 2024), https://bit.ly/3WzhbMF.



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963 F. Supp. 2d 255, 270 (S.D.N.Y. 2013), and turns on whether the plaintiff has:

         (1) successfully invited public attention to his views in an effort to influence others
         prior to the incident that is the subject of litigation; (2) voluntarily injected himself
         into a public controversy related to the subject of the litigation; (3) assumed a
         position of prominence in the public controversy; and (4) maintained regular and
         continuing access to the media.

Lerman v. Flynt Distrib. Co., Inc., 745 F.2d 123, 136-37 (2d Cir. 1984).

         Bobulinski’s allegations about the Bidens obviously relate to a public controversy, which

includes “any topic upon which sizeable segments of society have different, strongly held views.”

Id. at 138. And Bobulinski has clearly “plunge[d] into the arena and enter[ed] the fray,” id., by

taking on a prominent role in the controversy and seeking to sway public opinion about alleged

Biden influence peddling. Plaintiffs admit that he “came forward” voluntarily, Compl. ¶ 17, and

that he “started speaking publicly against the Biden family” in 2020, id. ¶ 37. Indeed, he raised

his allegations at a press conference immediately before the October 22, 2020 presidential debate,

which he then attended—with Passantino—as a guest of President Trump.14 He voluntarily sat for

an interview with the House Oversight and Accountability Committee in connection with an

impeachment investigation into President Biden15 and then testified in related public hearings.16

Cf. Schiavone Const. Co. v. Time, Inc., 619 F. Supp. 684, 704-06 (D.N.J. 1985) (plaintiffs became

public figures by issuing public statements and publicly campaigning regarding cabinet-level

confirmation dispute). His claims have been “the subject of intense attention.”17 Marcone v.

Penthouse Int’l Mag. for Men, 754 F.2d 1072, 1085 (3d Cir. 1985). He has also demonstrated that


    14
        Sonne, supra note 2. The Court may take judicial notice of published materials such as newspaper articles to
determine public figure status. See Prince, 634 F. Supp. 3d at 135 n.23; Biro, 963 F. Supp. 2d at 271 n.9.
     15
        See Katz Decl. Ex.A at 68; see also, e.g., Steakin, supra note 7.
     16
        See, e.g., Sara Dorn, ‘Lies’: Biden Impeachment Hearing Turns Firey As Ex-Hunter Biden Business Partner
Testifies, Forbes (Mar. 20, 2024), https://perma.cc/4VHS-V82S.
     17
        See, e.g., Annie Grayer & Marshall Cohen, Former Biden family business associate recycles unproven
allegations to House Panels, CNN.com (Feb. 13, 2024), https://perma.cc/WUQ7-ZRAJ; Brooke Singman, Hunter
Biden’s ex-associate Tony Bobulinski heads to Capitol Hill this week to testify in impeachment inquiry, Fox News
(Feb. 12, 2024), https://perma.cc/BA5W-9E52.



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he has “access to channels of self-help to which the private citizen does not,” Biro, 963 F. Supp.

2d at 275, because the press routinely covers his statements and those of his attorney, Passantino.18

         Passantino has also voluntarily taken on a prominent role in the controversy and sought to

influence opinion through his representation of Bobulinski. Even in more routine matters, an

attorney becomes a limited purpose public figure when, in a high-profile representation, he issues

press statements or seeks to generate media attention.19 Passantino has done exactly that. He has

issued multiple public statements about Bobulinski’s allegations,20 and he has engaged in a running

dispute with Congressman Jamie Raskin about the veracity of Bobulinski’s statements through

multiple letters—one of which Passantino copied directly to ABC News to ensure publicity. See

Katz Decl. Exs. C, D.21 In addition, representing a witness in an impeachment inquiry against the

President of the United States—a key witness who accuses the President of being the “big guy”

taking a cut of Chinese funds, Compl. ¶15—is unlike any other representation and necessarily

involves “thrust[ing] [one]self into the vortex of [a] public issue.” Gertz, 418 U.S. at 352. Public

figure status is also especially appropriate where (as here) an attorney is already well known for

involvement in related public and political controversies. See, e.g., Armstrong, 280 A.D.2d at 430-

31; Gray v. St. Martin’s Press, Inc., 221 F.3d 243, 251 (1st Cir. 2000) (well-known lobbyist was

a public figure). By his own admission, Passantino is “one of the leading political lawyers in the

country,” Compl. ¶ 21, and he is well known for his various roles connected to President Trump



    18
         See, e.g., Lynch, supra note 6; Nava, supra note 6.
    19
         See, e.g., Partington v. Bugliosi, 825 F. Supp. 906, 917-18 (D. Haw. 1993), aff’d, 56 F.3d 1147 (9th Cir. 1995)
(lead defense counsel in well-publicized murder trial was a public figure because he gave media interviews
“broadcast[ing] his view of the trial”); Armstrong v. Simon & Schuster, Inc., 280 A.D.2d 430, 430-31 (1st Dep’t 2001)
(attorney representing a high-profile individual in high profile case qualified as public figure due to press statements
relating to representation); Ratner v. Young, 465 F. Supp. 386, 399-400 (D.V.I. 1979) (defense attorneys in murder
trial were limited purpose public figures due to out-of-court statements).
      20
         Steakin, supra note 8; Rebecca Beitsch, Hunter Biden asks for investigation of former business associate, The
Hill (Nov. 3, 2023), https://bit.ly/3JRCG3S.
      21
         See also Lynch, supra note 6; Nava, supra note 6.



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or Trump-related controversies. He was the White House ethics counsel for President Trump—a

role that generated substantial press;22 he was a founding member of “Lawyers for Trump,” which

involved publicly advocating for President Trump (also extensively covered by the media);23 and

he represented many other allies of President Trump.24 He has shown that he “‘enjoys significantly

greater access to the channels of effective communication than the average private person.’” Biro,

963 F. Supp. 2d at 275 (quoting Gertz, 418 U.S. at 344). The media routinely publishes statements

from him or on his behalf defending his representation of his clients.25

        Lastly, as to both Bobulinski and Passantino, the “filing of the instant suit garnered . . . a

great deal of press attention, which also points to [their] access to self-help through the media.”

Biro, 963 F. Supp. 2d at 275 n.15.26

                 3.       Plaintiffs Fail to Plead Facts Showing Actual Malice.

        The Complaint fails to allege actual malice, which “must be plausibly alleged by providing

facts.” McDougal v. Fox News Network, LLC, 489 F. Supp. 3d 174, 181 (S.D.N.Y. 2020)

(emphasis added). That requires facts suggesting that Tarlov acted with “knowledge that [her

statements] [were] false or with reckless disregard of whether [they were] false or not.” Sullivan,

376 U.S. at 280. Reckless disregard is a subjective standard that requires showing “a high degree


     22
        R. Robin McDonald, Trump’s former ethics czar reflects on White House’s legal challenges, Law.com (Dec.
3, 2018), bit.ly/3JRLSoP.
     23
        See, e.g., Brooke Singman, Trump campaign bracing for legal battle over election, forming ‘coalition’ of
lawyers, Fox News (Sept. 3, 2020), https://perma.cc/5TDN-WZWM.
     24
        Gabby Orr, Herschel Walker allies want more ‘Trumpian response’ to abortion allegation, CNN (Oct. 7, 2022),
https://perma.cc/6SJJ-GNJR; see also Cristina Alesci, Trump Organization hires former White House ethics lawyer
to handle Hill investigations, CNN (Jan. 11, 2019), https://perma.cc/AD4A-C593; Rosie Manins, Atlanta Law Firms
Deny Conflict In Georgia Election Suits, Law 360 (Nov. 12, 2020) (Passantino is counsel on case challenging Georgia
election results), https://perma.cc/3ZUG-8C5W.
     25
        See, e.g., Luke Broadwater & Charlie Savage, Ethics Panel Dismisses Complaints Against Former Lawyer for
January 6 Witness, N.Y. Times (Mar. 19, 2024), https://nyti.ms/4b9hLW2; Charlie Savage, Group Seeks Disbarment
of a Trump-Aligned Lawyer for a Key Jan. 6 Witness, N.Y. Times (Mar. 6, 2023), nyti.ms/3QD8AES (referencing and
linking to statement issued on behalf of Passantino); Steakin, supra note 8.
     26
        See, e.g., Miranda Nazzaro, GOP Biden impeachment witness sues Fox News co-host Tarlov, The Hill (Mar.
28, 2024), https://bit.ly/3WFjX2W; James Lynch, Fox News Host Sued for Defamation by Former Biden Business
Partner, National Review (Mar. 28, 2024), https://perma.cc/3HR3-J9ZB.



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of awareness of . . . probable falsity.” St. Amant, 390 U.S. at 731 (quotation omitted). It “is not

measured by whether a reasonably prudent man would have published, or would have investigated

before publishing.” Id. Failure to investigate and even an “extreme departure from professional

standards” is not enough for actual malice. Harte-Hanks Commc’ns, Inc. v. Connaughton, 491

U.S. 657, 665, 688 (1989). Instead, to show reckless disregard under Sullivan, a plaintiff must

plead facts indicating that the defendant subjectively “in fact entertained serious doubts as to the

truth of his publication.” St. Amant, 390 U.S. at 731. The Complaint fails to meet that standard.

       First, repeated claims that Tarlov “knowingly” or “maliciously” “lied,” Compl. ¶¶ 1, 34,

35, 44, 49, 53, 60, 61, are not allegations of fact. They are conclusory assertions restating the legal

standard for actual malice and do not suffice to state a claim. See, e.g., Huizenga v. NYP Holdings,

Inc., No. 17-CV-2113-LTS-GWG, 2019 WL 1620743, at *3 (S.D.N.Y. Apr. 16, 2019).

       Second, claims that Ms. Tarlov was biased or targeted Plaintiffs for political reasons, see

Compl. ¶¶ 30, 35, 36, 40, 42-44, 50, 53, 68, are irrelevant. “[C]aselaw resoundingly rejects the

proposition that a motive to disparage someone is evidence of actual malice.” Parsi v. Daioleslam,

890 F. Supp. 2d 77, 90 (D.D.C. 2012); see also Harte-Hanks, 491 U.S. at 665 (“[M]otive in

publishing . . . cannot provide a sufficient basis for finding actual malice.”). A “pre-existing

agenda, even one which may be noxious to some minds, is not indicative of actual malice.”

Lohrenz v. Donnelly, 223 F. Supp. 2d 25, 48 (D.D.C. 2002). Instead, actual malice is a term of art

that “has nothing to do with bad motive or ill will,” Harte-Hanks, 491 U.S. at 666 n.7, and focuses

on the defendant’s “attitude towards the truth,” rather than the “defendant’s attitude toward the

plaintiff,” Chandok v. Klessig, 632 F.3d 803, 815 (2d Cir. 2011). As a result, “allegation[s] about

improper political or personal biases do not establish actual malice without additional facts.”

McDougal, 489 F. Supp. 3d at 185. Here, Plaintiffs offer no additional facts.




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         Third, Plaintiffs’ contention that Tarlov could have discovered that her statements were

false by consulting Save America PAC’s FEC filings, Compl. ¶¶ 39, 41, 49, distorts both the filings

and the actual malice standard. The FEC filings showing repeat payments to Passantino’s firm do

not detail what those payments were for. See Katz Decl. Ex.B (simply stating payments for “legal

consulting”).27 The assertion that “public filings” make it “obvious that Mr. Passantino was not

being paid by a Trump Super PAC for his representation of Mr. Bobulinski,” Compl. ¶ 49, is

contradicted by those filings, and the Court need not accept it as true. See, e.g., In re Livent, Inc.

Noteholders Sec. Litig., 151 F. Supp. 2d 371, 405-06 (S.D.N.Y. 2001). In any event, failure to

investigate the FEC filings and even an “extreme departure from professional standards” does not

establish actual malice. Harte-Hanks, 491 U.S. at 665, 693. Instead, a plaintiff must plead facts

indicating that the defendant “in fact entertained serious doubts as to the truth of his publication.”

St. Amant, 390 U.S. at 731.             The Complaint contains no facts suggesting such subjective

knowledge of falsity. It does not even allege that Tarlov reviewed the FEC reports or reviewed

any other information that could plausibly support an inference that she had subjective doubts

about the truthfulness of her statements. Moreover, there was no reason for Tarlov to think it was

implausible for a Trump PAC to be paying a witness’s legal fees given the widespread reporting

that Trump PACs were doing exactly that in multiple other investigations.28

         Fourth, to the extent Plaintiffs contend that Tarlov acted with malice by mischaracterizing

the facts, that theory also fails. “[I]naccuracy itself will not demonstrate ‘actual malice,’” and the


     27
        The Court can rely on documents incorporated into the complaint by reference and on documents “integral” to
the complaint. Coggins v. Cnty. of Nassau, 988 F. Supp. 2d 231, 241 (E.D.N.Y. 2013).
     28
        See, e.g., Roger Parloff, Cassidy Hutchinson’s Take on Her Trump-World Lawyer—and Why It Still Matters,
Lawfare (Jan. 17, 2024), https://perma.cc/7MYS-92VV; Gabby Orr, Trump’s Save America PAC paying legal bills
for witnesses in Mar-a-Lago probe, CNN (Dec. 6, 2022), https://perma.cc/MJ35-3YUU; Karl Evers-Hillstrom, Trump
PACs paid over $2 million to law firms representing Jan. 6 witnesses, The Hill (July 22, 2022), https://bit.ly/3UH7j0P.
The Court may take notice of publications to determine “what was in the public realm at the time” to assess allegations
of actual malice. Gallagher v. Philipps, 563 F. Supp. 3d 1048, 1071 (S.D. Cal. 2021); Arpaio v. Cottle, 404 F. Supp.
3d 80, 85 (D.D.C. 2019).



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assertion that a mischaracterization shows malice “conflate[s] the falsity element of a defamation

claim with the actual malice requirement.” BYD Co. Ltd. v. VICE Media LLC, 531 F. Supp. 3d

810, 823 (S.D.N.Y. 2021); see also Nelson Auto Ctr., Inc. v. Multimedia Holdings Corp., 951 F.3d

952, 958 (8th Cir. 2020) (“Failure to recognize a mistake or ambiguity . . . is not evidence of a

reckless disregard for the truth.”). Instead, a plaintiff must provide “corroborating allegations that

could establish that [the defendant] knew that it was misrepresenting the [facts].” BYD Co. Ltd.,

531 F. Supp. 3d at 823. There are no such factual allegations here.

       Finally, Plaintiffs’ critique of Tarlov’s correction cannot raise a plausible inference of

actual malice. Compl. ¶ 61. “[A] failure to retract occurs, by definition, after publication, meaning

that its probative value as to a defendant’s state of mind at the time of publication is dubious at

best.” Biro, 963 F. Supp. 2d at 281. Even the complete absence of a retraction “is not in itself

enough to nudge an allegation of actual malice from conceivable to plausible.” Id. at 281-82; see

also, e.g., Boone v. Newsweek LLC, No. CV 22-1601, 2023 WL 2245104, at *6 (E.D. Pa. Feb. 27,

2023). Here, Tarlov did correct her statement, explaining that, although “the law firm representing

Mr. Bobulinski was paid by a Trump PAC,” “I have seen no indication that those payments were

made in connection to Mr. Bobulinski’s legal fees, and he denies they were.” Compl. ¶ 32. That

statement, if anything, “tends to negate any inference of actual malice.” Logan v. District of

Columbia, 447 F. Supp. 1328, 1332 (D.D.C. 1978); see also Biro, 963 F. Supp. 2d at 283

(“allegation of actual malice lacks plausibility” given prompt retraction); Nelson Auto, 951 F.3d

at 959 (“[R]eadiness to print a retraction weighs against ‘malice.’”). It shows that, as soon as

Tarlov knew of a claimed error in her prior statement, she corrected it.

       B.      Plaintiffs Fail To Allege Statements That Are Defamatory at All, and Plainly
               Fail To Allege Statements That Are Defamatory Per Se.

       Plaintiffs’ claims for defamation also fail because the statement that Bobulinski’s legal fees



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were paid by a Trump Super PAC is not defamatory at all, and it certainly does not fall into one of

the narrow categories of defamation per se. To be defamatory, a statement must “expose the

plaintiff to public contempt, ridicule, aversion or disgrace, or induce an evil opinion of him in the

minds of right-thinking persons, and to deprive him of their friendly intercourse in society.” Foster

v. Churchill, 665 N.E.2d 153, 157 (N.Y. 1996). A mere statement that someone’s legal fees are

being paid by a Trump Super PAC cannot meet even the lower threshold to qualify as defamatory.

However polarized our politics have become, a federal court cannot hold as a matter of law that it

is defamatory to state that a person has a financial connection with a political committee of one of

the two major party candidates for the presidency of the United States. Cf. 1 Rodney A. Smolla,

Law of Defamation § 4:5 (2d ed.) (“[T]o erroneously call a Democrat a Republican, or to label

someone a ‘liberal,’ or a ‘conservative,’ is not defamatory.”).

       More importantly, Tarlov’s statement cannot qualify for the more demanding standard of

defamation per se. To avoid the need to plead special damages, a plaintiff must plead one of the

four narrow categories of defamation per se. “Whether [a] particular statement [is] considered

defamatory per se is a question of law” for the Court. Miserendino v. Cai, 218 A.D.3d 1261, 1265

(4th Dep’t 2023). Here, Plaintiffs apparently intend to argue that Tarlov’s statement qualifies as

defamatory per se as a statement injuring them in their trades, businesses, or professions. But New

York law sets a high bar for such statements, requiring a showing that “the defendant accused

plaintiff of conduct that is incompatible with the proper conduct of [plaintiff’s] business, trade,

profession, or office itself.” Wilson v. Tarricone, No. 12 Civ. 5337, 2013 WL 12084504, at *4

(S.D.N.Y. Sept. 26, 2013). The statement must either “impute[] some form of fraud or misconduct

or a general unfitness, incapacity, or inability to perform one’s duties.” Van-Go Transp. Co. Inc.

v. New York City Bd. of Educ., 971 F. Supp. 90, 98 (E.D.N.Y. 1997); see also, e.g., Clemente v.




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Impastato, 274 A.D.2d 771, 774 (3d Dep’t 2000) (statement “must amount to an attack on

plaintiff’s professional ability”). Ultimately, the statement must rise to the level of charging

conduct “incompatible” with the standards of plaintiff’s profession. Liberman v. Gelstein, 605

N.E.2d 344, 348 (N.Y. 1992). Neither plaintiff can remotely meet that standard here.

                1.      Bobulinski Fails To Allege Defamation Per Se.

        Bobulinski does not even attempt to allege facts showing that Tarlov’s statement charged

him with conduct “incompatible” with his business or profession. Indeed, he does not even allege

what his business is, other than to assert that he is a “successful businessman.” Compl. ¶ 8. The

Complaint is devoid of allegations describing Bobulinski’s trade or profession, standards for that

trade or profession, or how Tarlov charged him with conduct incompatible with those standards.

All the Complaint alleges is that Tarlov’s statement generally “sought to destroy his credibility,”

id. ¶ 50, that it “causes people to view [him] as untrustworthy” concerning his congressional

testimony, id., and that it would cause people “to disbelieve Mr. Bobulinski’s sworn testimony,”

id. ¶ 35. As those assertions make clear, Tarlov’s statements did not relate to Bobulinski in a

professional role—they related to his credibility as a volunteer congressional witness.

        It is black letter law, however, that statements conveying only “a more general reflection

upon the plaintiff’s character or qualities” do not qualify as defamatory per se. Liberman, 605

N.E.2d at 348. To be in that narrow category, a statement must relate to the plaintiff’s performance

of his job. See, e.g., Tacopina v. Kerik, No. 14CV749-LTS-FM, 2016 WL 1268268, at *4

(S.D.N.Y. Mar. 31, 2016) (statements undermining plaintiff’s “credibility” were not defamatory

per se because they were “not targeted at the specific standards of performance relevant to

[plaintiff’s] business”). In other words, the statement “must have referred to a plaintiff in [his]

professional role; [and] it is insufficient that the statement allegedly tends to harm plaintiff in [his]

professional pursuits.” Wilson, 2013 WL 12084504, at *4; accord Gurtler v. Union Parts Mfg.


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Co., 285 A.D. 643, 646 (1st Dep’t 1955) (“It should be emphasized that the words must be spoken

in relation to the profession or trade. . . . It is not sufficient that they tend to injure plaintiff in his

business, they must have been spoken of him in his business.”).

           The Complaint also forecloses any claim of defamation per se as it concedes that Tarlov’s

statement would supposedly subject Bobulinski to “hatred, distrust, ridicule, contempt and/or

disgrace” only “by a certain segment of America and the world which lives in an alternate reality.”

Compl. ¶ 50 (emphases added). Courts evaluating defamatory meaning look to the reaction of the

“average reader”—not the reaction of a subset of the population with particular political views.

Aronson v. Wiersma, 483 N.E.2d 1138, 1139 (N.Y. 1985). The “relevant audience” for judging

defamatory meaning “is the public to which [the statements] are addressed, not a narrower

audience selected by the plaintiff.” Lindell v. Mail Media, Inc., 575 F. Supp. 3d 479, 489

(S.D.N.Y. 2021) (quotation omitted). Where the plaintiff concedes that statements might harm his

reputation only among a “segment” of the population who “liv[e] in an alternate reality,” Compl.

¶ 50, that is a concession the statements are not defamatory at all, much less defamatory per se.

                    2.       Passantino Fails To Allege Defamation Per Se.

           Passantino also fails to allege defamation per se. Unlike Bobulinski, he at least asserts that

Tarlov’s statements “constitute defamation per se” because “they deliberately injured Mr.

Passantino in his trade, business, or profession.” Compl. ¶ 51. But that claim fails because

reporting that an attorney’s fees for one client are being paid by another entity (here, a Trump

Super PAC) does not “impute conduct that is of a kind incompatible with the proper conduct of

the business, trade, profession or office itself.” Thompson v. Bosswick, 855 F. Supp. 2d 67, 77

(S.D.N.Y. 2012) (quotations omitted); accord Liberman, 605 N.E.2d at 348.29


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         Statements that may be defamatory per se for an attorney are things like the assertion that an attorney “acted in




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         The mere statement that Bobulinski’s fees were paid by a Trump Super PAC does not

suggest any conduct incompatible with the ethical practice of law. Although it is unclear what the

Complaint means in asserting that Tarlov’s statement suggested that Passantino was involved in

presenting “improperly paid-for tainted testimony in violation of [Passantino’s] ethical duties,”

Compl. ¶ 51, the law is clear that third-party financing of legal fees is perfectly compatible with

ethical requirements. Ethical rules explicitly permit third-party payments if a client gives informed

consent. See Model Rules Professional Conduct rule 1.8(f); accord D.C. Rules of Professional

Conduct 1.8(e); 22 N.Y. Comp. Codes R. & Regs. § 1200.0, rule 1.8(f). Accordingly, nothing on

the face of Tarlov’s statement that a Trump Super PAC was paying Bobulinski’s fees suggests that

Bobulinski’s lawyer (who was not even named) was violating any professional standard.

         To the extent the Complaint asserts that Tarlov’s statement “indicat[ed]” that Passantino

was “part of a scheme to present politically motivated and . . . tainted testimony in violation of his

ethical duties,” Compl. ¶ 51, that tendentious characterization also cannot salvage the claim. To

start with, even if Tarlov’s statement did suggest that Bobulinski might have political motivations,

there is nothing unethical or incompatible with the standards of the legal profession in representing

a witness before Congress who may have a political motive for coming forward to testify.

         And to the extent the Complaint strains to suggest that Tarlov conveyed that Passantino

was involved in presenting false testimony, see id. ¶ 67, that theory plainly fails. Tarlov simply

did not say that, and her words cannot be stretched to mean that. The Court may not adopt a

“strained or artificial construction” to create a defamatory meaning. Aronson, 483 N.E.2d at 1139.

Tarlov’s statement must be evaluated as it “would be read and understood by the public” and



total disregard of professional ethics,” Handelman v. Hustler Magazine, Inc., 469 F. Supp. 1048, 1052 (S.D.N.Y.
1978); or “unethically . . . disclosed confidential information,” Miserendino, 218 A.D.3d at 1265; or that the attorney
is facing suspension of a bar license, Luo & Assocs. v. NYIS L. Firm, A.P.C., 211 A.D.3d 533, 534 (1st Dep’t 2022).



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“tested against the understanding of the average reader.” Celle v. Filipino Reporter Enters. Inc.,

209 F.3d 163, 177 (2d Cir. 2000) (citation and quotation omitted). Here, Tarlov did not say that

Passantino helped present false testimony. She merely reported information that could be relevant

for assessing Bobulinski’s motivations and credibility. Disclosing such information cannot be

turned into an assertion that Bobulinski presented false testimony—or that his lawyer was

knowingly assisting him in such an endeavor.

       Plaintiffs’ effort to twist Tarlov’s words is particularly improper because it would have a

dangerous chilling effect on speech about matters of public interest. Plaintiffs’ approach would

make it impossible for commentators to exercise their First Amendment right to discuss current

events without a fear that any effort to convey information relevant to a person’s credibility could

be twisted into a flat-out charge of perjury that would draw a defamation suit. Simply pointing

out information bearing on credibility is not the same as charging perjury. Neither defamation law

nor the First Amendment allows the Court to obliterate that distinction by adopting such a strained

reading of Tarlov’s statement. See Ollman v. Evans, 750 F.2d 970, 991 (D.C. Cir. 1984) (en banc)

(protecting “deep-seated constitutional values” of freedom of speech “counsels strongly against

straining to squeeze [defamatory] factual content” from a benign statement).

       Finally, Tarlov’s statement also cannot qualify as defamatory per se because it falls within

the single-instance rule. That rule “applies where a publication charges a professional person with

a single error in judgment, which the law presumes not to injure reputation.” Armstrong v. Simon

& Schuster, Inc., 649 N.E.2d 825, 828 n.5 (N.Y. 1995). Even though “a statement detailing a lone

instance of improper conduct may have some adverse effect on one’s business or reputation,” it is

not actionable as defamation per se. Croton Watch Co. v. Nat’l Jeweler Mag., No. 06-cv-662,

2006 WL 2254818, at *8 (S.D.N.Y. Aug. 7, 2006); accord Wilson, 2013 WL12084504, at *5 (“The




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single instance exemption precludes Plaintiff from recovering where, as here, she alleges only one

instance of defamation in her business, trade, or profession and does not allege special damages.”).

Thus, even if Tarlov’s statement had conveyed something about Passantino that was incompatible

with professional standards for attorneys (it did not), her statement still would not be actionable.

Where, as here, a statement about a single instance does not “‘imput[e] a general unfitness or

unskillfullness’” and “does not suggest plaintiff’s general incompetence, ignorance, or lack of

skills,” the single instance rule applies. Croton, 2006 WL 2254818, at *8 (quoting Celle, 209 F.3d

at 180). Accordingly, the claim for defamation per se necessarily fails.

       C.      Plaintiffs Fail To Plead Special Damages.

       Plaintiffs’ defamation claims also fail because Plaintiffs fail to allege special damages—

that is, “the loss of something having economic or pecuniary value, which must flow directly from

the injury to reputation caused by the defamation.” Agnant v. Shakur, 30 F. Supp. 2d 420, 426

(S.D.N.Y. 1998). “To satisfy the special damages requirement, a plaintiff must set forth an

itemized account of his losses; round figures, general allegations of a dollar amount or boilerplate

allegations of some impairment to business reputation are insufficient.” Id. Indeed, under the

strict requirements for pleading special damages, to claim lost business a plaintiff “must name the

individuals who ceased to be customers” and itemize “the exact damages incurred.” Zaret v.

Bonsey, No. 22 CIV. 7109 (AT), 2023 WL 6317956, at *3 (S.D.N.Y. Sept. 28, 2023). These

pleading requirements, moreover, are “strictly applied, as courts will dismiss defamation claims

for failure to allege special damages with the requisite degree of specificity.” Thai v. Cayre Grp.,

Ltd., 726 F. Supp. 2d 323, 330 (S.D.N.Y. 2010).

       Here, the Complaint wholly fails to allege special damages. It offers only boilerplate

allegations of general damages, vaguely asserting that Plaintiffs have suffered “damage to their

reputation, humiliation, embarrassment, and mental anguish, as well as their business ventures and


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profession.” Compl. ¶ 52. These are exactly the sort of “nonspecific conclusory allegations [that]

do not quantify plaintiffs’ harm with sufficient particularity to identify actual losses,” and thus “do

not meet the stringent requirements imposed for pleading special damages.” LoanStreet, Inc. v.

Troia, No. 21 CIV 6166 (NRB), 2022 WL 3544170, at *7 (S.D.N.Y. Aug. 17, 2022) (dismissing

as insufficient allegation of “damage to reputation, loss of profits, loss of business relations with

existing and future business prospects, and loss of competitive business advantage”). And

Plaintiffs’ demand for $10 million in damages on each claim, see Compl. ¶¶ 54, 64, 69, simply

confirms that Plaintiffs assert only general damages. “Such round figures, with no attempt at

itemization, must be deemed to be a representation of general damages” and such figures are

insufficient to plead special damages for a claim for defamation. Drug Rsch. Corp. v. Curtis Pub.

Co., 166 N.E.2d 319, 322 (N.Y. 1960); see also, e.g., Nunez v. A-T Fin. Info. Inc., 957 F. Supp.

438, 441 (S.D.N.Y. 1997) (“[R]ound figures or a general allegation of a dollar amount as special

damages will not suffice.”); Dooner v. Keefe, Bruyette & Woods, Inc., No.00 CIV 572 (JGK), 2003

WL 135706 (S.D.N.Y. Jan. 17, 2003) (“[P]leading damages in the round amounts of $2 million

and punitive damages of $5 million are inconsistent with a claim of ‘special damages.’”).

Accordingly, Plaintiffs’ defamation claims fail.

II.    Plaintiffs Fail To State a Claim for Defamation By Implication.

       Plaintiffs’ claim for defamation by implication based on Tarlov’s correction the next day

is also fatally flawed. After noting that she had said that Bobulinski’s fees were paid by a Trump

PAC, Tarlov corrected herself: “What was actually said at the hearing was that a law firm

representing Mr. Bobulinski was paid by a Trump PAC.” Compl. ¶ 32. Plaintiffs concede that

statement accurately reflects what Rep. Crockett said at the hearing, see id. ¶ 58, and the “true fact

that the [Trump] PAC has paid Stefan Passantino’s firm,” id. ¶ 59. Tarlov’s correction clarified

that the information at the hearing was that the firm had received PAC funds, not that Bobulinski’s


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own fees had been paid. And Tarlov made that distinction crystal clear: “I have seen no indication

that those payments were made in connection to Mr. Bobulinski’s legal fees, and he denies that

they were.” Id. ¶ 32. Plaintiffs’ theory of defamation by implication—that Tarlov’s statement

somehow implied that the Trump PAC actually did pay Bobulinski’s fees—fails on multiple fronts.

       To start, the claim fails for all the same reasons noted above. Saying (or implying) that

legal fees were paid by a PAC is not defamatory per se and Plaintiffs still fail to plead special

damages with their vague allegations of injury to reputation and round demand for $10 millions.

See id. ¶ 64. Plaintiffs also fail to allege actual malice. If anything, Tarlov’s immediate correction

negates any plausible inference of malice. See supra Part I.A.3.

       More fundamentally, the claim fails because Tarlov’s words cannot be twisted to carry the

implication Plaintiffs suggest. “To survive a motion to dismiss a claim for defamation by

implication . . . the plaintiff must make a rigorous showing that the language of the communication

as a whole can be reasonably read both to impart a defamatory inference and to affirmatively

suggest the author intended or endorsed that inference.” Stepanov v. Dow Jones & Co., 120 A.D.3d

28, 37-38 (1st Dep’t 2014); see also Biro v. Condé Nast, 883 F. Supp. 2d 441, 466 (S.D.N.Y.

2012). Plaintiffs cannot come close to that showing. Their theory is that, when Tarlov said she

had seen “no indication” that payments from the PAC were for Bobulinski’s fees, that “did nothing

to dispel the negative impression left with the viewers that it may, in fact, be true even if Ms.

Tarlov had not seen an indication that it was.” Compl. ¶ 60. That is preposterous. A statement

clarifying that Tarlov had “no indication” that something happened cannot be distorted into a

deliberate effort to imply that it did happen.

       Finally, to the extent Plaintiffs attack Tarlov’s description of what was said at the hearing

(for allegedly failing to provide “context,” id. ¶¶ 57, 59), her statement was “a fair and true report




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of. . . [a] legislative proceeding” that is privileged under New York law and cannot be the subject

of a claim for defamation. N.Y. Civ. Rts Law § 74. Tarlov accurately described Rep. Crockett’s

statement, which was that “the law firm representing Tony Bobulinski was paid $10,000 as

recently as January of this year by the Save America PAC.” Compl. ¶ 58 (quoting Rep. Crockett);

see also, e.g., Holy Spirit Assn. for the Unification of World Christianity v. New York Times Co.,

49 N.Y.2d 63, 68 (1979) (noting that under the fair report privilege, “accounts of legislative or

other official proceedings must be accorded some degree of liberality.”). The fair report privilege

applies and forecloses any defamation by implication claim.

III.   Passantino Fails To State a Claim for Injurious Falsehood.

       Passantino’s injurious falsehood claim has multiple fatal flaws. “The elements of a claim

of injurious falsehood, which is also called product disparagement or trade libel, are: (i) falsity of

the alleged statements; (ii) publication to a third person; (iii) malice; and (iv) special damages.”

Daniels v. St. Luke’s-Roosevelt Hosp. Ctr., No. 02 CIV. 9567 (KNF), 2003 WL 22410623, at *7

(S.D.N.Y. Oct. 21, 2003). The tort turns on “denigrating the quality of [a] business’s goods or

services.” See Ruder & Finn Inc. v. Seaboard Sur. Co., 422 N.E.2d 518, 522 (N.Y. 1981). The

claim here fails for multiple reasons.

       First, because the injurious falsehood claim “relies on the same statements and alleged

harm that form the basis for [his] defamation claims,” the claim “must be dismissed as

duplicative.” Enigma Software Grp. USA LLC v. Bleeping Computer LLC, 194 F. Supp. 3d 263,

291 (S.D.N.Y. 2016); see also, e.g., O’Brien v. Alexander, 898 F. Supp. 162, 172 (S.D.N.Y. 1995)

(same). The allegations supporting injurious falsehood, see Compl. ¶¶ 66-69, add nothing beyond

the assertions that framed the defamation claim, and the cause of action is thus entirely duplicative.

       Second, Passantino fails to plead actual malice. As a speech-based tort, injurious falsehood

is subject to “limits placed on libel actions by the First Amendment.” Bridge C.A.T. Scan Assocs.


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v. Ohio-Nuclear Inc., 608 F. Supp. 1187, 1198 (S.D.N.Y. 1985); see also Hustler Mag., Inc. v.

Falwell, 485 U.S. 46, 52 (1988) (applying Sullivan’s actual-malice standard to an IIED claim).

Because Passantino is a limited-purpose public figure, the actual-malice standard from Sullivan

applies.30 And because he fails to allege actual malice, see supra Part I.A.3, his claim fails.

         Third, the injurious falsehood claim also fails for failure to plead special damages.

Injurious falsehood requires a plaintiff to allege “special damages, in the form of actual lost

dealings.” Banco Popular N. Am. v. Lieberman, 75 A.D.3d 460, 462 (1st Dep’t 2010); accord In

Touch Concepts, Inc. v Cellco P’ship, 949 F. Supp. 2d 447, 484 n.30 (S.D.N.Y. 2013). Here, the

injurious falsehood claim repeats the same inadequate allegations of general damages described

above, and thus it fails to plead special damages. See supra Part I.C.

         Fourth, Passantino fails to allege how Tarlov’s statements disparage “the quality of [his]

goods or services.” Ruder & Finn, 422 N.E.2d at 522; cf. Banco Popular, 75 A.D.3d at 462

(injurious falsehood focuses narrowly on “the knowing publication of false and derogatory facts

about the plaintiff’s business of a kind calculated to prevent others from dealing with the

plaintiff”). Tarlov’s statement concerned only payment for Bobulinski’s fees and said nothing to

disparage the quality of Passantino’s “goods and services” as a lawyer. To the extent the

Complaint asserts that statements about the PAC payments suggested that Passantino was

“facilitating false testimony,” Compl. ¶ 67, that theory cannot salvage the claim. Even if such a

statement could impugn Passantino’s general character or integrity in some way (it does not, see

supra Part I.B.2), it does not specifically denigrate his ability as a lawyer. See, e.g., Grayson v.

Ressler & Ressler, 271 F. Supp. 3d 501, 518 (S.D.N.Y. 2017) (explaining that, while “a defamatory

statement impugns the basic integrity or creditworthiness of a business,” “an injurious falsehood


    30
       Actual malice is also required because the claim is based on “lawful conduct in furtherance of the exercise of
the constitutional right of free speech in connection with an issue of public interest.” N.Y. Civ. Rts L. § 76-a(1)(a)(2).



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is confined to denigrating the quality of the plaintiff’s business’s goods or services.”) (quotation

omitted). In any event, Tarlov did not accuse anyone of presenting false testimony and the Court

cannot adopt such a strained and unnatural reading of her statement. See supra p. 21.

IV.        Ms. Tarlov Is Entitled To Attorneys’ Fees Under N.Y. Civ. Rts. L. § 70-a.

           This action qualifies as an “action involving public petition and participation” because it is

based upon Ms. Tarlov’s “exercise of the constitutional right of free speech in connection with an

issue of public interest.” N.Y. Civ. Rts L. § 76-a(1)(a)(2). As a result, Ms. Tarlov is entitled to an

award of attorneys’ fees. New York law states in mandatory terms that “costs and attorney’s fees

shall be recovered upon a demonstration . . . that [an action involving public petition and

participation] . . . was commenced or continued without a substantial basis in fact and law.” N.Y.

Civ. Rts L. § 70-a(1)(a) (emphasis added). The “substantial basis” standard was designed to set a

heightened pleading standard “to make it easier for defendants in SLAPP suits to win motions to

dismiss.” Yeshiva Chofetz Chaim Radin, Inc. v. Vill. of New Hempstead, 98 F. Supp. 2d 347, 359

(S.D.N.Y. 2000).31 Accordingly, where (as here) a complaint fails to state a claim under the more

lenient federal pleading standards of Rule 8 and Rule 12(b)(6), it follows that the action was

necessarily commenced without a “substantial basis in fact and law” under the heightened New

York standard and thus the substantive standard for fees under section 70-a is automatically

triggered. Decisions in this district declining to apply section 70-a on the ground that its “standard

conflicts” with Rule 12, see, e.g., Coritsidis v. Khai Bnei Torah of Mount Ivy, No. 22-cv-10502

(CS), 2024 WL 37122, at *6 (S.D.N.Y. Jan. 3, 2024), confuse two distinct issues. Even if the New

York “substantial basis” standard cannot be used as the rule for decision on a motion to dismiss in



      31
       It is precisely because showing a “substantial basis” for a claim requires more than required by federal
pleading standards that several judges in this district have declined to apply the “substantial basis” standard on a
motion to dismiss in federal court. See, e.g., Chinese Americans, 2022 WL 1443387, at *4 n.4.



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federal court, that procedural matter raises an entirely different question from the substantive right

created in section 70-a(1) to an award of attorneys’ fees if a plaintiff brings an action without a

“substantial basis.” A federal court in diversity may not simply decline to apply that substantive

right to relief provided by state law.

         New York courts have also established that section 70-a commands that attorneys’ fees

should be awarded on a successful pre-answer motion to dismiss without any need for filing a

separate claim or action for attorneys’ fees. See, e.g., Golan v. Daily News, 214 A.D.3d 558, 559

(1st Dep’t 2023); Aristocratic Plastic Surgery v. Silva, 206 A.D.3d 26, 32 (1st Dep’t 2022); Islay

v Garde, No. 160699/2018, 2024 WL 763923, at *5 (N.Y. Sup. Ct. Feb. 13, 2024). Requiring a

separate action would defeat the “Legislature’s clear intent” to create a vehicle allowing defendants

to “expeditiously halt SLAPP claims and recover attorneys’ fees and costs without the burden

of . . . protracted litigation.” Islay, 2024 WL 763923, at *6. Decisions in this district suggesting

that a separate action is required, see, e.g., Chinese Americans, 2022 WL 1443387, at *6, are

inconsistent with New York courts’ interpretation of New York law and have been criticized as

misinterpreting New York law. See, e.g., Islay, 2024 WL 763923, at *6 n.8. Those federal

decisions are not persuasive and should not be followed. Instead, if this motion is successful, Ms.

Tarlov has necessarily shown that this action was commenced “without a substantial basis” and

she has a substantive right under New York law to an award of fees on this motion.32

                                                 CONCLUSION

         The Court should dismiss the complaint with prejudice for failure to state a claim.


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        To the extent one recent federal decision held that attorneys’ fees are available under section 70-a only where
a dismissal has been obtained pursuant to N.Y. C.P.L.R. § 3211(g)(1), and thus cannot be available in federal court,
see LaNasa v. Stiene, No. 22-cv-5686 (KAM), 2024 WL 1648001, at *7 (E.D.N.Y. Apr. 17, 2024), that decision is
also plainly incorrect. By its terms, section 70-a provides a substantive right that fees “shall be recovered upon a
demonstration” that the action was commenced without a substantial basis “including an adjudication pursuant to
[section 3211(g)].” N.Y. Civ. Rts. L. § 70-a(1)(a) (emphasis added). An adjudication under section 3211(g)(1) is
only one possible way of demonstrating that the action was commenced without a “substantial basis.”



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